






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-03-00369-CR






Simon Alejandro, Appellant


v.


The State of Texas, Appellee







FROM THE DISTRICT COURT OF TOM GREEN COUNTY, 51ST JUDICIAL DISTRICT

NO. A-00-0854-S, HONORABLE THOMAS J. GOSSETT, JUDGE PRESIDING






M E M O R A N D U M   O P I N I O N



	On February 13, 2001, appellant Simon Alejandro pleaded guilty to indecency with
a child by contact.  See Tex. Pen. Code Ann. § 21.11(a)(1) (West 2003).  The trial court followed
the plea bargain agreement and placed Alejandro on a ten-year deferred adjudication probation.  On
June 5, 2001, the State filed a motion to revoke probation, alleging six violations of Alejandro's
conditions of probation.  After a hearing, the trial court found Alejandro to have violated one of the
conditions and revoked his probation, sentencing him to fifteen years' confinement in the
Institutional Division of the Texas Department of Criminal Justice.  Alejandro now appeals the
revocation, arguing that the evidence is factually insufficient to support the trial court's finding that
he violated a term of his probation.  Because we have no jurisdiction over Alejandro's appeal, we
will dismiss the appeal for want of jurisdiction.


	Alejandro contends by a single issue that there was insufficient evidence he violated
the conditions of his probation.  No appeal may be taken from a trial court's determination to
proceed with an adjudication of guilt on the original charge based on a violation of a condition of
community supervision.  Tex. Code Crim. Proc. Ann. art. 42.12, § 5(b) (West Supp. 2004).  Thus,
a defendant on deferred adjudication who is adjudicated guilty of the original charge may not raise
on appeal contentions of error in the adjudication of guilt process.  Connolly v. State, 983 S.W.2d
738, 741 (Tex. Crim. App. 1999).  This includes complaints of insufficiency of the evidence.  Id. 
We therefore have no jurisdiction to address this issue.  We dismiss Alejandro's appeal.  Id.



					__________________________________________

					David Puryear, Justice

Before Chief Justice Law, Justices Kidd and Puryear

Dismissed

Filed:   March 4, 2004

Do Not Publish


